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                         Exhibit B
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                                                                                                          USOO6415284B1

     (12) United States Patent                                                            (10) Patent No.:              US 6,415,284 B1
            D'Souza et al.                                                                (45) Date of Patent:                      Jul. 2, 2002

     (54) INTELLIGENT FORMS FOR IMPROVED                                               Lintz, Paul R., “Examiner's Exhibit A', Microsoft Access 97
             AUTOMATED WORKFLOW PROCESSING                                             Help File Printout, Downloaded from Microsoft Access 97
     (75) Inventors: Roy Peter D’Souza, Sunnyvale;                                     on Jun. 8, 2001, copyright date, 1989-1996, Examiner's
                             William Laurence Manning, Stanford,                       pages 5-7.*
                    both of CA (US)                                                    Insurance related papers downloaded from the NAIC,
     (73) Assignee: Rivio, Inc., Santa Clara, CA (US)                                  National ASSociation of Insurance Commissioners, we Site at
                                                                                       http://www.naic.org (4 pages).
     (*) Notice: Subject to any disclaimer, the term of this                           Draft Document entitled “Electronic Commerce and Regu
                             patent is extended or adjusted under 35
                             U.S.C. 154(b) by 0 days.                                  lation Issues,” dated Mar. 15, 1999 from the NAIC, National
                                                                                       ASSociation of Insurance Commissioners, web site (13
     (21) Appl. No.: 09/344,269                                                        pages).
     (22) Filed:     Jun. 30, 1999                                                     * cited by examiner
     (51) Int. Cl. ................................................ G06F 17/30
     (52) U.S. Cl. ........................................................... 707/3
     (58) Field of Search ................................. 207/505, 507,              Primary Examiner Diane D. Mizrahi
                                                                            207/3      (74) Attorney, Agent, or Firm-James D. Ivey
     (56)                       References Cited                                       (57)                   ABSTRACT
                        U.S. PATENT DOCUMENTS                                          Fields of Smart forms include default logic and verification
            4,667,292 A           5/1987 Mohlenbrock et al. ..... 364/406
                                                                                       logic to simplify filling in of the Smart form by an employee
            4,831,526 A           5/1989 Luchs et al. ................... 705/4        and reduce the likelihood that errors in data entry occur. In
            4,916,611 A           4/1990 Doyle, Jr. et al. ...           ... 705/4     particular, the default logic determines a default value for a
            4,975,840 A         12/1990 DeTore et al. .......            ... 705/4     field in the form according to one or more data items in a
            5,070,452 A         12/1991 Doyle, Jr. et al. ...            ... 705/4     comprehensive company database. Verification logic verifies
            5,191.522 A   3/1993 Bosco et al. ................... 705/4
            5,410,646 A * 4/1995 Tondevold et al. ......... 395/149                    that the employee has entered valid form data in a particular
            5,490.243 A * 2/1996 Millman et al. ............ 395/148                   field. The verification logic can include references to data
            5,655,085 A          8/1997 Ryan et al. .................... 705/4         items Stored in the comprehensive company database Such
            5,970.464 A         10/1999 Apte et al. ..................... 705/4        that data entered by the employee can be verified with
            6,035,276 A           3/2000 Newman et al. ............... 705/2           respect to data already Stored in the database. Data entered
            6,112,986 A           9/2000 Berger et al. ............... 235/380
                                                                                       by the employee is Stored in the database and can be used by
                          OTHER PUBLICATIONS                                           default logic and/or verification logic in Subsequently used
     Drancheck, John S. et al., “Building ACCESS2 Applications                         Smart forms.
     Using Point-And-Click Programming”, John Wiley and
     Sons, (New York, 1995), p. 75–76, 124-133.*                                                      21 Claims, 12 Drawing Sheets

                                                         FIELD 208A


                                                                          TYPE 302


                                                                       ALTERABLE 304


                                                                        DEFAULTANNOTATION306



                                                                     WERIFICATION ANNOTATION 308
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         FIELD 208A

                           TYPE 302


                       ALTERABLE 304


                       DEFAULTANNOTATION 306



                     VERIFICATION ANNOTATION 308



                                       DATA 310




                              FIGURE 3
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                                                            400
                     BEGIN                             /1
                                            402
            IDENTIFY THE EMPLOYEE

                                            404
           RETRIEVE THE WORKFLOW

                                            406
          RETRIEVE THE REFERENCED
                SMART FORM

                                            408
           PRE-PROCESS THE SMART
                   FORM

                                            410
           SEND THE PRE-PROCESSED
                 SMART FORM

                                            412
            RECEIVE THE COMPLETED
           AND VERIFIED SMART FORM

                                            414
           CONTINUE THE WORKFLOW




                      END                         FIGURE 4
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           PRE-PROCESS THE
             SMART FORM                                     / 408
                                502

              FOREACH
                                  MORE
                FIELD
                                                                        504
               NO MORE                        EXECUTE DEFAULT
                                                ANNOTATION

                                                                        506
                                           RESOLVE VERIFICATION
                                               ANNOTATION

                                                                         508
                                         BUILD FORM TO INCLUDE THE
                                          FIELD WITH THE RESOLVED
                                          VERIFICATION ANNOTATION




                   FIGURE 5
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                BEGIN                                                / 600

         EMPLOYEE RECEIVES             602
        AND ENTERS DATA INTO
         THE PRE-POPULATED
            SMART FORM                               DISPLAY NOTICE TO     608
                                                      EMPLOYEE THAT
                                                      ENTERED DATAS
            THE RESOLVED               604                 NVALID
             VERIFICATION
            ANNOTATIONS
         EXECUTED FOREACH
                FIELD

                                  606
               IS THE
            ENTERED DATA                        NO
               VALID?


                 YES

          ACCEPT FORM DATA              610              FIGURE 6
           ENTERED BY THE
              EMPLOYEE
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         100 y
                     DATA REPOSITORY STAGE S. 708


           DATABASE SERVERS
                      752




                                       768

                     EXTERNAL HISTORICAL
                          PROFILES


                        FIGURE 7A
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                           BUSINESS LOGIC STAGE          706

                     BUSINESS LOGIC
                        SERVERS        112




                              FIGURE 7B                            i
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                                WEBSERVER STAGE S. "
                      WEBSERVERS744a
                          WEB
                        SERVER
                         LOGIC
                                                          732

                          WEB
                        SERVER
                         LOGIC


                          WEB
                        SERVER
                         LOGIC


                          WEB
                        SERVER
                         LOGIC


                          WEB
                        SERVER
                         LOGIC




                                       FIGURE 7C                          i
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             USER
            REQUEST
               R 710


                       FIGURE 7D




                       FIGURE FIGURE FIGURE FIGURE
                         7A     7B     7C     7D

                                        FIGURE 7
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                                                      NO|LETS
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                      |WIO-SNET[\JOW
              |   |                    |




                                            013|WISGOLET[\JW
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                                                         US 6,415,284 B1
                                   1                                                                      2
           INTELLIGENT FORMS FOR IMPROVED                                     FIG. 2 is a block diagram of an application of FIG. 1 in
          AUTOMATED WORKFLOW PROCESSING                                    greater detail, showing a workflow which includes a refer
               CROSS REFERENCE TO RELATED                                  ence to a Smart form according to the present invention.
                      APPLICATIONS                                            FIG. 3 is a block diagram of a field of the Smart form of
       The present Application is related to the following                 FIG. 2 in greater detail.
     co-pending U.S. patent applications, each of which is incor              FIG. 4 is a logic flow diagram of the processing of a
     porated herein in its entirety by reference: (i) U.S. patent          Workflow in accordance with the present invention.
     application Ser. No. 09/346,155 entitled “Improved Scalable              FIG. 5 is a logic flow diagram illustrating a step of FIG.
     Architecture for E-Commerce Applications” by Roy                 1O
                                                                           4 in greater detail, preprocessing the Smart form of FIG. 2 in
     D'Souza and filed Jun. 30, 1999 now abandoned; (ii) U.S.              accordance with the present invention.
     patent application Ser. No. 09/345,225 entitled “Data Min                FIG. 6 is a logic flow diagram illustrating the user
     ing Aggregator architecture with Intelligent Selector” by             interface with the Smart form in accordance with the present
     Roy D'Souza and filed Jun. 30, 1999 pending; (iii) U.S.               invention.
     patent application Ser. No. 09/345,259 entitled “Data Min                FIG. 7 is a block diagram showing components of the
     ing With Dynamic Events” by Roy D'Souza and filed Jun.           15
                                                                           computer System of FIG. 1 in greater detail.
     30, 1999 now pending; and (iv) U.S. patent application Ser.              FIG. 8 is a block diagram showing a busineSS logic
     No. 09/345,170 entitled “Data Mining With Decoupled
     Policy From Business Application” by Roy D'Souza and                  intelligent director agent of FIG. 7 in greater detail.
     filed Jun. 30, 1999 now pending.                                                     DETAILED DESCRIPTION
                   FIELD OF THE INVENTION                                     In accordance with the present invention, intelligent
        The present invention relates to commerce Systems which            forms are intelligently pre-populated using a busineSS data
     include computers and computer networks and, in particular,           base and include logic for Verification of properly Supplied
     to a particularly efficient System for collecting information         data to minimize effort in filling in Such forms and to
     and receiving bids for insurance coverage.                       25
                                                                           minimize the risk of accepting invalid form data, thus
              BACKGROUND OF THE INVENTION                                  reducing the System's Susceptibility to error.
        Currently, computer-implemented workflows greatly                     FIG. 1 shows a networked computer system 100 for
                                                                           processing insurance applications. Computer System 100 is
     improve information processing in the workplace. In                   described more completely below. A brief description of
     particular, a workflow can track information of an event and          computer system 100 is included for completeness and
     ensure that proper notification of the event is delivered to          facilitates understanding and appreciation of the application
     appropriate perSonnel and that authorization is obtained for          process described herein.
     an event to proceed.                                                     A number of computers 102A-C are coupled through a
        One area in which computer-implement workflow pro                  wide area network 106, Such as the Internet, to a Scalable
     cessing is Vulnerable to error is the entry of requisite         35   network server 108. In this illustrative example, computers
     information by people initiating and/or processing work               102A-C are used by human employees of a business con
     flows. Accordingly, a mechanism which simplifies informa              cern. The busineSS concern of this illustrative example is
     tion entry for workflow processing and/or reduces Suscep              Sometimes referred to as the Subject company. Only three
     tibility of workflow processing to information entry errorS is        computers 102A-C used by employees are shown while it is
     highly desirable.                                                40   appreciated that numerous additional computers for respec
                SUMMARY OF THE INVENTION                                   tive additional employees can be added.
                                                                             Scalable network server 108 includes a number of indi
        In accordance with the present invention, fields of Smart
     forms include default logic and Verification logic to Simplify        vidual network Servers, load balancers, and routers as
     filling in of the Smart form by an employee and reduce the            described more completely below. Briefly, scalable network
     likelihood that errors in data entry occur. In particular, the   45   server 108 routes data between computers 102A-C on one
     default logic determines a default value for a field in the           end and applications 110A-D on the other end.
     form according to one or more data items in a comprehen                 Applications 110A-D access data in a database 116
     Sive company database. Including the default value in the             through an applications programming interface (API) 114.
     form reduces the amount of time required by the employee              The subject company uses applications 110A-D to perform
     to fill in the Smart form with form data. In addition,           50   a number of business functions. Such business functions
     alteration of the default value can be prohibited, thereby            include, for example, payroll, accounting, benefits
     reducing the likelihood of erroneous data being entered.              administration, and inter-office communications Such as
        Verification logic Verifies that the employee has entered          e-mail. Each of these functions can be performed by all or
     valid form data in a particular field. The Verification logic         part of one or more applications Such as applications
     can include references to data items Stored in the compre        55   110A-D, each of which stores data for Such functions in
     hensive company database Such that data entered by the                database 116. As a result, database 116 evolves to include an
     employee can be verified with respect to data already Stored          ever increasingly complete record of each employee of the
     in the database. Accordingly, introduction of errors in form          subject company. While only applications 110A-D are
     data is further prevented.                                            shown, it is appreciated that other applications can be
                                                                           included.
        Data entered by the employee is Stored in the database and    60
                                                                             In this illustrative example, application 110A implements
     can be used by default logic and/or verification logic in
     Subsequently used Smart forms.                                        a workflow 202 (FIG. 2). Applications 110B-D (FIG. 1) can
                                                                           also implements workflows such as workflow 202.
           BRIEF DESCRIPTION OF THE DRAWINGS                               Accordingly, the following description of application 110A
       FIG. 1 is a block diagram of a computer System which           65   is equally applicable to applications 110B-D.
     implements Smart form for workflow improvement in accor                 Workflow 202 (FIG. 2) includes a number of actions to be
     dance with the present invention.                                     taken by application 110A in carrying out a task which
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                                    3                                                                   4
     typically includes interaction with one or more employees of            Default annotation 306 is typically executed within appli
     the Subject company. To interact with an employee of the              cation 110A (FIG. 1) since application 110A is relatively
     subject company, workflow 202 includes a smart form                   close to database 116, at least relative to computers 102A-C,
     reference 204 which identifies a Smart form 206. Smart form           and. can therefore quickly and efficiently resolve references
     206 includes a number of fields 208A-D, each of which                 within default annotation 306 (FIG. 3) to items of data
     corresponds to a particular piece of information which is             within database 116. Verification annotation 308 can also be
     used in carrying out the task of workflow 202. While four             executed by application 110A, however, Such generally
     fields 208A-D are shown, it is appreciated that Smart form            requires that Smart form 206 is transferred to one of com
     206 can include fewer or more fields.                                 puters 102A-C, e.g., computer 102A in this example, and
                                                                           transferred back to application 110A and back to computer
        Fields 208A-D are analogous to one another, and the                102A if the form is not properly populated by the employee.
     following description of field 208A is equally applicable to          Such generally exacerbates traffic congestion on wide area
     fields 208B-D. Field 208A is shown in greater detail in FIG.          network 106.
     3.                                                                      Alternatively, application 110A resolves references to
          Field 208A includes type data 302, an alterable flag 304,   15   data items stored in database 116 by Substituting the Sub
     a default annotation 306, and a verification annotation 308.          Stantive data values for Such data items for Such references
     Type data 302 indicates whether field 208A is (i) generic             within verification annotation 308. As a result, verification
     with respect to the Subject company, (ii) generic with respect        annotation 308, when received by computer 102A, includes
     to a department within the Subject company, (iii) Specific to         no references to data items within database 116 but data
     an employee and mandatory, and (iv) specific to an                    constants where Such references had been. Verification
     employee and optional. Fields which are generic to a com              annotation 308 is then executed within computer 102A.
     pany correspond to data located within a company record of            Verification annotation 308 executes as a JavaScript within
     database 116 (FIG. 1) corresponding to the Subject company.           computer 102A in one embodiment.
     Fields which are generic to a department correspond to data              In either case, indication by verification annotation 308
     located within a department record of database 116. Fields       25   (FIG. 3) that data supplied for field 208A is invalid results
     which are Specific to an employee correspond to data Stored           in rejection of Smart form 206 (FIG. 2). If verification
     within an employee recorded of database 116. Mandatory                annotation 308 (FIG. 3) is executed by application 110A,
     fields must have Satisfactory data Supplied by the employee           rejection of Smart form 206 (FIG. 2) results in re-submission
     before processing of the corresponding workflow is permit             of Smart form 206 to computer 102A with notification to the
     ted to proceed. Optional fields can be left blanks and the            employee regarding which of fields 208A-D are improperly
     Workflow can proceed.                                                 populated by the employee. If verification annotation 308
          Alterable flag 304 (FIG. 3) contains data indicating             (FIG. 3) is executed within computer 102A, computer 102A
     whether data other than the default value Supplied by default         can wait until the entirety of Smart form 206 is completed
     annotation 306 can be altered.                                        before verifying each of fields 208A-D and can then notify
          Annotations 306–308 are logic which can include refer       35   the employee of the non-conformance of data entered in
     ences to data contained in records in database 116 (FIG. 1).          Smart form 206.
     Default annotation 306 (FIG. 3) includes logic which speci              Alternatively, verification annotation 308 (FIG. 3) can be
     fies a default data value for field 208A. Alterable flag 304          executed upon detection that the user has activated a field
     specifies whether data different than the default can be              other than field 208A after entering data corresponding to
     entered for field 208A. The logic of default annotation 306      40   field 208A. From the employee's perspective, field 208A is
     can include references to data contained in database 116              active once the employee places a cursor within a graphical
     (FIG. 1). For example, if field 208A corresponds to an                or textual representation of field 208A to enter data. Once
     employee's name, default annotation 306 can specify that              the employee has entered data in the representation of field
     the employee's name is retrieved from database 116 (FIG.              208A, placing the cursor within a graphical or textual
     1), and alterable flag 304 can indicate that the employee's      45   representation of another field triggerS execution of Verifi
     name cannot be changed–at least not through this illustra             cation annotation 308 (FIG. 3). Upon indication by verifi
     tive example of Smart form 206 (FIG.2). The logic of default          cation annotation 308 that data entered is invalid, a pop-up
     annotation 306 (FIG. 3) can be more complicated as well.              window appears to notify the employee of the non
     For example, if field 208A represents the number of vacation          compliance and positions the cursor within the graphical/
     days available to an employee, default annotation 306 can        50   textual representation of field 208A.
     include logic which determines the number of days available              It is appreciated that verification annotation 308 can
     from data stored in the employee's record in database 116             distinguish mandatory and optional fields as defined by field
     (FIG. 1)-e.g., the length of time for which the employee              type 302 by characterizing null data as valid or invalid.
     has been employed by the Subject company, the hours                   Accordingly, types of fields can be limited to (i) generic to
     worked by the employee, and the number of vacation days          55   the Subject company, (ii) generic to a department, and (iii)
     already used by the employee.                                         Specific to the employee.
          Verification annotation 308 (FIG. 3) includes logic which           The combination of pre-populating unalterable fields and
     processes data entered by an employee and indicates                   Verifying propriety of data entered for alterable fields Sig
     whether the entered data is valid. Verification annotation 308        nificantly reduces data entry errors. In addition pre
     can also include references to data Stored in database 116.      60   populating unalterable fields significantly reduces the time
     For example, if field 208A represents a number of vacation            and effort required by employees to properly fill out forms
     days requested by an employee, Verification logic 308 can             required for various busineSS functions.
     include logic which compares the requested vacation to the              Logic flow diagram 400 (FIG. 4). illustrates the process
     number of days of vacation available to the employee.                 ing of workflow 202 (FIG. 2) in response to activation by an
        Field 208A also includes space for data 310 which is the      65   employee using computer 102A. In this illustrative example,
     substantive value of the information represented by field             workflow 202 implements redemption by the employee of
     208A.                                                                 an earned bonus Vacation.
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                                   S                                                                      6
       In step 402 (FIG. 4), application 110A (FIG. 2), in                 computer 102A displays a notice to the employee indicating
     executing workflow 202, identifies the employee. The                  that the entered form data is non-conforming in step 608
     employee can be authenticated according to an address, e.g.,          (FIG. 6) and processing transfers back to step 602.
     an IP address, of computer 102A or, preferably, through a             Conversely, if the entered form data satisfies the resolve
     conventional user-identification and password authentica              Verification annotation, processing transferS to Step 610 in
     tion procedure. The user is typically authenticated at the            which the form data is accepted. Once all fields have valid
     beginning of a Session between computer 102A and appli                form data entered, the completed, valid form is Sent to
     cation 110A, and logic flow diagram 400 (FIG. 4) represents           application 110A (FIG. 1).
     a small portion of the session between computer 102A(FIG.               In step 412 (FIG. 4), application 110A receives the
     1) and application 110A.                                              verified, completed form. In step 414, application 110A
        In step 404 (FIG. 4), application 110A (FIG. 2) retrieves          (FIG. 2) continues with processing workflow 202. In this
     and begins execution of workflow 202, typically in response           example, continuing processing of workflow 202 includes
     to an action taken by the user, e.g., actuation of a graphical        requesting authorization from one or more managers of the
     user interface (GUI) button presented on a web-page.                  employee for the requested vacation, providing to the
        In executing workflow 202, application 110A uses refer        15   employee a pass enabling the employee and the employee's
     ence 204 to retrieve and initiate execution of Smart form 206         family to gain entrance at an establishment for the requested
     in step 406 (FIG. 4). In step 408, application 110A (FIG. 2)          vacation, and noting in accounts payable that the requested
     pre-processes Smart form 206 as shown in greater detail as            and authorized vacation must be paid for. The pass can be,
     logic flow diagram 408 (FIG. 5).                                      for example, a multiple day pass at an amusement park.
        Loop step 502 and next step 510 define a loop in which                In addition, continuing processing of workflow 202 can
     each of fields. 208A-D (FIG.2) is process according to steps          include Storing of Some or all of the form data in database
     504-508 which are described in the context of field 208A
                                                                           116 (FIG. 1) thereby providing a more complete record of
     noting that processing of Steps 208B-D is analogous.                  the employee in database 116. For example, the Specific days
                                                                           for which the employee will be on vacation can be stored in
        In step 504 (FIG. 5), application 110A (FIG. 2) executes      25   database 116 and can be included in requests to the employ
     default annotation 306 (FIG. 3) to determine a default value          ee's managers for vacation authorization for other employ
     for field 208A. As described above, execution of default              eeS. Thus, the manager can base authorization or rejection of
     annotation 306 can include retrieval of one or more data              a requested vacation with vacation Schedules of other
     items from database 116 (FIG. 1). In addition, default                employees in mind. In addition, vacation Schedules of other
     annotation 306 can be a null operation such that there is no          employees as represented in database 116 can be included in
     default data value for field 208A.                                    verification annotations Such as verification annotation 308
        In step 506 (FIG. 5), application 110A (FIG. 2) resolves           (FIG. 3) to further automate the vacation Scheduling process
     verification annotation 308 (FIG. 3) such that all references         and reduce the workload of the managers of the employee.
     to data items of database 116 (FIG. 1) are replaced with data         Scalable Architecture
     values retrieved from database 116, such that subsequent         35      The architecture of scalable network server 108, applica
     access to database 116 by computer 102A is unnecessary.               tions 110A-B, business logic 112, API 114, and database 116
       In step 508 (FIG. 5), application 110A (FIG. 2) includes            is shown in greater detail in FIG. 7.
     logic, e.g., in the Java Scripting language, in a form to                In particular, FIG. 7 shows a clustered computer System
     implement field 208A as resolved.                                     architecture wherein an intelligent director agent (IDA) is
       After step 508 (FIG. 5), processing transfers through next     40   included with each of the clusters that implement a web
     step 510 to loop step 502 to process the next of fields               Server Stage, a busineSS logic Stage, and a data repository
     208A-D. Once all fields have been so processed, processing            Stage. Preferably, there is an IDA for each cluster, although
     according to logic flow diagram 408, and therefore step 408           more than one cluster may be provided per Stage, in which
     (FIG. 4), completes.                                                  case multiple IDAS may be provided. Furthermore, as will
       In step 410, application 110A (FIG. 1) sends the pre
                                                                      45   be discussed later herein, the clusters may be disposed at one
     processed Smart form to computer 102A for completion by               local Site or may be dispersed among geographically remote
     the employee.                                                         locations. Note that although FIG. 7 shows an intelligent
                                                                           director agent for each of these Stages, it is contemplated that
        Logic flow diagram 600 (FIG. 6) illustrates the processing         in Some clustered computer Systems, not every Stage needs
     of the pre-processed Smart form by computer 102A (FIG. 1)        50   to be provided with an intelligent director agent and that
     in the context of the illustrative example of an employee             Significant benefits may be achieved by endowing even only
     earning a bonus vacation. In step 602 (FIG. 6), computer              one of the Stages with one or more intelligent director
     102A (FIG. 1) receives the pre-processed form and presents            agents. Conversely, a Stage may comprise multiple clusters,
     the form to the employee. In this example, the pre-processed          in which case multiple IDAS may be provided.
     form presents pre-populated fields indicating, inter alia, the   55      With reference to FIG. 7, there is shown portions of
     hours worked by the employee, the time for which the                  computer system 100, which is typically connected to wide
     employee has worked for the Subject company, the employ               area network 106 as described above. In particular, FIG. 7
     ee's department and location, and the vacation packages for           shows a webserver stage 704 which includes scalable server
     which the employee is qualified.                                      108, a business logic stage 706 which includes business
       In step 604 (FIG. 6), the employee enters form data for        60   logic 112 and applications 110A-B, and a data repository
     respective fields. Such fields include, for example, dates and        stage 708 which includes API 114 and database 116.
     number of days of the requested vacation and a Selected one              Data repository stage 708 represents the stage wherein
     of the vacation packages for which the employee has quali             data for use by the busineSS logic Software modules are kept
     fied.                                                                 and includes the data Stores as well as the database logic
       In test step 606 (FIG. 6), computer 102A (FIG. 1)              65   employed to access the data Stores. BusineSS logic Stage 706
     executes resolved verification annotations to determine               represents the stage wherein the computer cluster(s)
     whether form data entered by the employee is valid. If not,           employed to execute busineSS logic 112 and applications
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     110A-B is implemented. For simplicity, only one cluster                authorized to use the Service offered through computer
     comprising four busineSS logic Servers is shown in FIG. 7.             system 100. After successful authentication, if the user
     Webserver stage 704 represents the stage wherein the com               Subsequently indicates that he wishes to employ a particular
     puter cluster(s) employed to execute Scalable network server           busineSS logic Software. i.e., a particular one of applications
     108 is implemented. Webserver stage 704 generally facili               110A-B (by, for example, inputting data or taking an action
     tates the users interaction with the rest of computer System           that requires the attention of a particular busineSS logic
     100 using the web-based paradigm or a Suitable paradigm                module), the webserver assigned to him then accesses a
     for interacting with wide area network 106 (FIG. 1). Again,            business logic IDA740 to ascertain the appropriate business
     only one cluster comprising five webserverS is shown in                logic server (i.e., the appropriate Server in the business logic
     FIG. 7 to simplify the illustration.                                   Stage Such as one of busineSS logic 112 or applications
         In the case of FIG. 7, the servers within each stage and           110A-C) to which the user's transaction request may be
     within each cluster may be heterogeneous (i.e., implemented            Sent.
     on different platforms and having different capability) and               The decision pertaining to which busineSS logic Server to
     each may operate a different Set of busineSS logic modules,
     i.e., application Software modules. By way of example,                 assign may be made based on the current relative load levels
     business logic 112 and applications 110A-C within business        15   on the respective busineSS logic Servers, the information
     logic Stage 706 may be implemented using different                     pertaining to which is periodically received by busineSS
     hardware/Software platforms and configurations that are                logic IDA 740 from the business logic servers through path
     adapted for operating busineSS logic 112 and applications              742. Additionally, business logic IDA 740 also receives
     110A-B implemented therein. In other words, there is no                additional information pertaining to the busineSS logic Serv
     requirement in the present invention that the Servers asso             erS and more importantly the busineSS logic Software mod
     ciated with a given Stage or cluster or even those running             ules implemented on the busineSS logic Servers to facilitate
     copies of a particular Software module be homogeneous                  improved acceSS Speed and reliability. Accordingly, the
     (although Such can be readily accommodated by the instant              routing decision taken by the busineSS logic, IDA is based
     computer System architecture without any major                         not only on information pertaining to the individual business
     modification). AS long as the servers in a cluster can            25   logic Servers but also based on information pertaining to the
     communicate with the IDA that is associated with that                  individual busineSS logic Software modules implemented
     cluster and can be adapted to operate cooperatively with one           thereon.
     another within a cluster, the Servers can be implemented in               The availability of the additional business logic server
     the cluster architecture of the present invention. It should be        Specific information and the busineSS logic module-specific
     noted that the technologies, protocols, and methodologies              information also facilitates inventive techniques to improve
     exist for allowing heterogeneous computers to communicate              acceSS Speed and reliability during Software upgrades, to
     and work cooperatively and will not be discussed in greater            maintain a desired level of fault tolerance for the business
     detail herein.                                                         logic Software and/or the busineSS logic Servers, to reac
       Beginning with the user's access request via path 710 (by,           tively and/or prospective load balance among the business
     for example, typing in the Uniform Resource Locator or            35   logic Servers, and to efficiently employ remote business
     URL at the user's web browser in computer 102A-FIG.1),                 logic Servers to accomplish improving acceSS Speed and
     the request is forwarded to a webserver logic intelligent              reliability. Some of the additional data kept by the business
     director agent (IDA) 712, which decides among the web                  logic IDA and their roles in improving access Speed and
     servers 714a–714e as to which of these webservers should               reliability in accordance with embodiments of the present
     Service this users access request. As a threshold                 40   invention will be discussed later herein.
     determination, webserver logic IDA 712 may ascertain                      Each of the busineSS logic Software programs, i.e., busi
     whether the user had recently accessed the Service through             neSS logic 112 and applications 110A-B, has many copies
     a particular webserver of webserver stage 704. If so, there            distributed among the Servers of the cluster to facilitate
     may be data pertaining to this user that is cached at that             redundancy and Scalability.
     particular webserver, and it may be more efficient to con         45      Once a busineSS logic Server having thereon the requisite
     tinue assigning this user to that webserver to take advantage          busineSS logic module to Service the user's transaction
     of the cached data.                                                    request is assigned to Service the incoming transaction
       On the other hand, if it is determined that this user has not        request, Subsequent traffic between the WebServer assigned
     recently accessed the Service or if there is no cached data            earlier to that user and the assigned busineSS logic Server
     pertaining to this user on any of the webservers, webserver       50   may be (but is not required to be) transmitted directly
     logic IDA 712 may assign the user to one of webservers                 without going through the assigned busineSS logic IDA.
     714a–714e. The decision of which webserver to assign may                  If the busineSS logic module employed by the user
     be made based on the current relative load levels on the               requires data from data repository Stage 708, the business
     respective webservers, the information pertaining to which             logic Software module, through the busineSS logic Server,
     is periodically received by webserver logic IDA 712 from          55   may consult yet another IDA (shown in FIG. 7 as database
     the webservers through path 732. Additionally, webserver               logic IDA 750), which picks the most suitable database
     logic IDA712 also receives additional information pertain              server 752, 754, and/or 756 for serving up the data. The
     ing to the WebServers and the webserver logic Software                 decision regarding which database Server to assign may be
     modules implemented on the webservers to facilitate                    made based on the current relative load level on the respec
     improved acceSS Speed and reliability. Thus, the webserver        60   tive database Servers that have the necessary data, the
     logic IDA 712 arbitrates among the webserver computers                 information pertaining to which is periodically received by
     based not only on the relative load level information asso             database logic intelligent director agent 750 from the data
     ciated with the individual webservers but also based on                base servers through path 760. Like the business logic IDA
     information pertaining to the individual webserver logic               and the webserver IDA, however, the database logic IDA
     Software modules.                                                 65   750 also receives additional information pertaining to the
        The assigned webserver may authenticate the user to                 database Servers as well as the database Server logic modules
     ascertain whether the user is registered and/or properly               implemented on the database Servers to facilitate improved
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     access Speed and reliability. Once a database Server having              other network monitoring tools (Such as conventional Soft
     thereon the requisite data to Service the user's transaction             ware tools that track network congestion at Specific
     request is assigned, Subsequent traffic between the busineSS             locations). Still, other information may be derived from the
     logic Server that requests the data and the assigned database            information received dynamically and/or statically (Such as
     Server may be (but is not required to be) transmitted directly           the average latency time for Servers, which may be calcu
     without going through the assigning database logic IDA.                  lated periodically based on average network latency between
       In one embodiment, an IDA may be co-located with the                   the webserver and the busineSS logic Server, the average
     router that routes the traffic to the servers of the cluster, or         network latency between the busineSS logic Server and the
     it may be implemented Separately from the router. It should              available database cluster, the processing capability of the
     be kept in mind that although FIG. 7 shows an IDA for each               Servers, and the like).
     of the WebServer Stage, the busineSS logic Stage, and the data              Business server directory 804 may track information
     repository State, there is no requirement that there must be             pertaining to the list of busineSS logic Servers available to the
     an IDA for each Stage, or each cluster for that matter if there          clustered computer System, their remote/local Status, their
     are multiple clusters per Stage. The provision of an IDA,                certified/uncertified Status (which may be expressed as Bool
     even with only one cluster or one Stage of the clustered            15   ean values or may be a numerical value that reflects their
     computer System, dramatically improves acceSS Speed and                  preference in receiving and Servicing transaction requests),
     reliability even when other clusters and Stages may be                   the list of busineSS logic Servers capable of being loaded
     implemented without IDAS.                                                with a particular busineSS logic Software, the list of busineSS
       AS mentioned earlier, an intelligent directory agent (IDA)             logic Servers capable of being used for running a particular
     receives more than just load Status data from the Servers it             busineSS logic module, theirS relative weight which reflects
     Services. With reference to busineSS logic intelligent director          the relative preference with which traffic should be directed
     agent (IDA) 740, for example, it is preferable that the                  to the individual Servers (e.g., due to network conditions or
     busineSS logic IDA tracks one or more of the additional                  other factors), and the like.
     information Such as Server processing capability, Server                    Business logic module version block 806 may track
     geographic identification (e.g., remote or local to the site that   25   information pertaining to the Software versions of the busi
     implements the webserver Stage and/or the data repository                neSS logic modules implemented on the various business
     Stage), the average latency for Servicing a transaction request          logic servers. Further, business logic version block 806 may
     (e.g., due to the server's geographic remoteness or the Speed            track information pertaining to the certified/uncertified Sta
     of the network connection), the list of business logic mod               tus of each copy of the busineSS logic modules, the relative
     ules that are compatible with each server, the list of the               weight of each copy of busineSS logic module which reflects
     busineSS logic modules actually implemented on each                      the relative preference with which traffic should be directed
     Server, the version of the business logic modules                        to it, and the like.
     implemented, and/or the load experienced by the business                   Business logic module load Status block 808 may track
     logic modules on the Servers. In one embodiment, the                     information pertaining to the level of load currently expe
     busineSS logic IDA also receives information pertaining to          35   rienced by the individual business logic modules (in number
     external historical profiles (768) of transaction requests and           of transactions per Second or the number of users currently
     processing loads on the busineSS logic modules and/or the                using a business logic module, for example). This informa
     busineSS logic Servers in order to predict usage demands                 tion may be tracked for busineSS logic modules currently in
     placed on the busineSS logic modules and to prospectively                operation, individually and/or as a group average.
     balance the loads among the busineSS logic Servers if needed        40      Server processing capacity block 810 may track the
     So that an anticipated Surge in usage does not overwhelm any             processing capability (again in number of transactions per
     particular busineSS logic module.                                        Second or the number users that can be Supported
       FIG. 8 illustrates, in accordance with one embodiment of               concurrently) of the individual business logic servers in
     the present invention, a Simplified logic block diagram of an            order to ascertain how much bandwidth a particular Server
     exemplary business logic intelligent director agent (IDA)           45   may have, how much has been used, and how much is
     740. Although only the business logic IDA is described in                available.
     details herein, the webserver logic IDA and the database                    BusineSS logic Server load Status block 812 may track a
     logic IDA may be similarly formed. However, their similar                Similar type of data as busineSS logic module load Status,
     construction will not be discussed in details for brevity sake.          albeit at the server level instead of the business logic module
     With reference to FIG. 8, business logic requests from the          50   level. BusineSS logic Server average latency block 814 may
     webservers are received by business logic IDA740 via path                track the average latency to be expected if a particular
     770. Within business logic intelligent director agent 740,               busineSS logic Server is employed to Service the transaction
     both Server-specific and Software-Specific information is                request. The average latency may be calculated based on the
     received and maintained in addition to the relative load                 processing capability of the Server, how remote it is from the
     Status on individual busineSS logic Servers.                        55   webserver that issues the transaction request (which is
        Some of the additional pieces of information are received             impacted by network latency), how remote it is from the
     from the business logic servers via path 742 and stored in               database that may be needed to Service the transaction
     exemplary blocks 804, 806, 808, 810, 812, 814, and 816,                  request (which is also impacted by network latency). Busi
     respectively. For ease of illustration, not every piece of               neSS logic Server log file block 816 may track the operational
     information is shown in FIG. 8. Note that Some of informa           60   Status of the busineSS logic Server and/or the busineSS logic
     tion is Static and may be received as part of the registration           modules implemented thereon to determine, for example,
     process that the Servers underwent as they were installed                the length of time that the Server and/or the busineSS logic
     into the cluster. Examples of Such Static information                    module has been in operation without failure and other types
     includes Server processing capability and busineSS logic                 of log file data.
     module version number. Other information may be dynami              65      BusineSS logic intelligent director agent 740 also includes
     cally received by the IDA from the servers (such as the list             a data mining module 830, which receives the external
     of business logic modules implemented on each Server) and                historical profiles (768 of FIG. 7) of past usage trends on the
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     various busineSS logic modules and/or busineSS logic                    for each of the one or more fields,
     Servers, and ascertains prospectively the load demand on the               including Verification logic which, when executed,
     various busineSS logic modules and/or busineSS logic Serv                    determines whether form data entered by the user is
     ers. Data mining module 830 may be implemented using a                       valid for the field; and
     variety of available data mining methodologies.                  5       Sending the data-entry form with the verification logic
        Using the Server-specific and the busineSS logic module                  through a computer network to a remote computer for
     Specific information available, a busineSS logic Selector                   entry of the data by the user such that the remote
     module 834 then selects one of the business logic servers to                computer receives the data entered by the user and
     Service the pending busineSS logic request and transmits the                executes the verification logic.
     selection to the requesting webserver via path 772.                      9. The computer readable medium of claim 8 wherein the
        Within business logic intelligent director agent 740, there        Verification logic includes one or more references to data
     is also shown a configuration module 840, representing the            items Stored in a database; and
     module that either reactively or prospectively reconfigures             wherein the computer instructions are further configured
     and/or reshuffles the busineSS logic modules among the                    to cause the computer to build a data-entry form by:
     busineSS logic Servers to permit the clustered computer          15       resolving the references to replace the references in the
     System to better handle the processing load and to achieve                   Verification logic with data values of the data items
                                                                                  retrieved from the database.
     the desired level of fault tolerance.
                                                                              10. The computer readable medium of claim 9 wherein
        The above description is illustrative only and is not              the computer instructions are further configured to cause the
     limiting. The present invention is limited only by the claims         computer to build a data-entry form by:
     which follow.                                                            identifying the user; and
       What is claimed is:                                                   wherein the data items retrieved from the database are
        1. A method for using a data-entry form to receive data                asSociated with the user within the database.
     entered by a user, the method comprising:                                11. The computer readable medium of claim 9 wherein the
       including one or more fields in the data-entry form;                computer instructions are further configured to cause the
       for each of the one or more fields,                            25   computer to build a data-entry form by:
          including Verification logic which, when executed,                  receiving data entered by the user in completing the
            determines whether form data entered by the user is                  data-entry form; and
            valid for the field; and                                          Storing the data entered by the user in the database.
       Sending the data-entry form with the Verification logic                12. The computer readable medium of claim 8 wherein
          through a computer network to a remote computer for              the computer instructions are further configured to cause the
          entry of the data by the user such that the remote               computer to build a data-entry form by:
          computer receives the data entered by the user and                 for each of the one or more fields,
          executes the verification logic.                                      determining default data values for the field according
       2. The method of claim 1 wherein the verification logic                    to data items retrieved from a database.
                                                                      35
     includes one or more references to data items Stored in a                13. The computer readable medium of claim 12 wherein
     database, the method further comprising:                              the computer instructions are further configured to cause the
       resolving the references to replace the references in the           computer to build a data-entry form by:
          Verification logic with data values of the data items               identifying the user; and
          retrieved from the database.                                       wherein the data items retrieved from the database are
                                                                      40
       3. The method of claim 2 further comprising:                            asSociated with the user within the database.
       identifying the user; and                                              14. The computer readable medium of claim 12 wherein
       wherein the data items retrieved from the database are              the computer instructions are further configured to cause the
         asSociated with the user within the database.                     computer to build a data-entry form by:
       4. The method of claim 2 further comprising:                   45      receiving data entered by the user in completing the
       receiving data entered by the user in completing the                      data-entry form; and
          data-entry form; and                                                Storing the data entered by the user in the database.
                                                                              15. A computer System comprising:
       Storing the data entered by the user in the database.                 a proceSSOr,
       5. The method of claim 1 further comprising:                          a memory operatively coupled to the processor, and
                                                                      50
       for each of the one or more fields,
          determining default data values for the field according            a form building module (i) which executes in the proces
            to data items retrieved from a database.                            sor from the memory and (ii) which, when executed by
       6. The method of claim 5 further comprising:                             the processor, causes the computer to use a data-entry
       identifying the user; and                                                form to receive data entered by a user by:
       wherein the data items retrieved from the database are
                                                                      55        including one or more fields in the data-entry form;
         asSociated with the user within the database.
                                                                                for each of the one or more fields,
                                                                                  including Verification logic which, when executed,
        7. The method of claim 5 further comprising:                                determines whether form data entered by the user
        receiving data entered by the user in completing the                         is valid for the field; and
           data-entry form; and                                       60        Sending the data-entry form with the Verification logic
        Storing the data entered by the user in the database.                      through a computer network to a remote computer
        8. A computer readable medium useful in association with                   for entry of the data by the user such that the remote
     a computer which includes a processor and a memory, the                       computer receives the data entered by the user and
     computer readable medium including computer instructions                      executes the Verification logic.
     which are configured to cause the computer to use a data         65      16. The computer system of claim 15 wherein the veri
     entry form to receive data entered by a user by:                      fication logic includes one or more references to data items
        including one or more fields in the data-entry form;               Stored in a database, and
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       wherein the form building module is further configured to           for each of the one or more fields,
         cause the computer to build a data-entry form by:                   determining default data values for the field according
         resolving the references to replace the references in the              to data items retrieved from a database.
           Verification logic with data values of the data items
            retrieved from the database.                             5      20. The computer system of claim 19 wherein the form
        17. The computer system of claim 16 wherein the form             building module is further configured to cause the computer
     building module is further configured to cause the computer         to build a data-entry form by:
     to build a data-entry form by:                                         identifying the user; and
        identifying the user; and                                          wherein the data items retrieved from the database are
       wherein the data items retrieved from the database are
         asSociated with the user within the database.                       asSociated with the user within the database.
        18. The computer system of claim 16 wherein the form          21. The computer system of claim 19 wherein the form
     building module is further configured to cause the computer building module is further configured to cause the computer
     to build a data-entry form by:                              5 to build a data-entry form by:
        receiving data entered by the user in completing the          receiving data entered by the user in completing the
          data-entry form; and                                           data-entry form; and
        Storing the data entered by the user in the database.
        19. The computer system of claim 15 wherein the form          Storing the data entered by the user in the database.
     building module is further configured to cause the computer
     to build a data-entry form by:                                                       k   k  k   k   k
